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                                     Forfeiture Notice
              (18 U.S.C. § 924(d), 26 U.S.C. § 5872, and 28 U.S.C. § 2461(c))

        The allegations contained in Counts One and Two of this Indictment are realleged

and incorporated by reference herein.

        Upon conviction for the offense alleged in Count One or Count Two of this

Indictment and pursuant to 18 U.S.C. § 924(d), 26 U.S.C. § 5872, and 28 U.S.C. §

2461 (c), the defendant, Eric Gerard McGinnis, shall forfeit to the United States of

America any firearm, magazine, and ammunition involved in the commission of the

offense, including, but not limited to, the following: an AR-15-style rifle of unspecified

manufacturer and bearing no serial number with a barrel less than 16 inches in length;

and any ammunition and magazine recovered with that firearm.




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                                                  A TRUE BILL




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